  Case 15-10552             Doc 42    Filed 10/04/16 Entered 10/04/16 10:22:57                     Desc Main
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SO ORDERED.

SIGNED this 4 day of October, 2016.




                                                              Austin E. Carter
                                                      United States Bankruptcy Judge




                    UNITED STATES BANKRUPTCY COURT
                                           Middle District Of Georgia


In re Jennie Floyd Hudson ,                                                     Case No. 15-10552
Debtor
                                                                                Chapter 13


   CONSENT ORDER ON DEBTOR’S MOTION FOR VIOLATION OF AUTOMATIC
                  STAY AND CREDITOR MISCONDUCT
         Debtor having filed a Motion for Violation of Automatic Stay and Creditor Misconduct [Doc. 33] (the
"Motion") against CitiFinancial Servicing, LLC ("CitiFinancial"), and CitiFinancial having filed an Answer and
Objection to the Motion [Doc. 35], and it appearing to the court that the Motion has been settled and resolved
pursuant to a Compromise, Settlement and Release Agreement entered into between the parties,
         It is hereby ORDERED that the Motion and relief requested therein is denied, with each party to bear their
own costs, expenses and attorney's fees.

                                              END OF DOCUMENT

Prepared by:                                Consented to by:

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